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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

 ANAS ELHADY, et al.,                                     )
                                                          )       Case No. 16-cv-00375
         Plaintiffs,                                      )       Hon. Anthony J. Trenga
                                                          )       Hon. Mag. John F. Anderson
 v.                                                       )
                                                          )
 CHARLES H. KABLE, Director of the                        )
 Terrorist Screening Center; in his official              )
 capacity, et al.;                                        )
                                                          )
         Defendants.                                      )
 _______________________________________________________________________________________________________

                       PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                    MOTION TO COMPEL RE: PRIVATE DISSEMMINATION

         Pursuant to Fed R. Civ. P 37(a)(3)(B) and E.D. Va. L.R. 37, Plaintiffs hereby move to

 compel responsive discovery from Defendants and to otherwise compel the Defendants to

 comply with the Court’s January 4, 2019 order directing Defendants to “provide a further

 detailed, complete, and specific response to Plaintiffs’ Interrogatory Number 30 and related

 questions at the TSC’s Rule 30(b)(6) deposition.” See Dkt. 258. Defendants provided that

 response on Friday February 8, 2019. See Exhibit A, Supplemental Interrogatory Response

 re: Private Dissemination (“Court-Ordered Supplement”). This motion regards the scope

 and substance of the Defendants’ response, which Judge Trenga ordered the plaintiffs to

 address “expeditiously to the Magistrate Judge.” Id.

         This dispute regards an expansive category of facts about the federal government’s

 dissemination of TSDB data to private entities that Defendants have steadfastly kept

 hidden from the Plaintiffs—despite multiple lines of discovery efforts aimed at assessing

 private sector dissemination. Having carefully reviewed the Terrorist Screening Center’s


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 supplemental information, it is clear why the federal government has been so obstinate

 about this area: the scope of private dissemination is very bad for the agencies that

 administer the watchlisting system.

        For the first time anywhere, the federal government has disclosed that

 approximately 1,441 private entities have ongoing access to the terrorist watchlist.

 See Exhibit A (Court-Ordered Supplement). Prior to Judge Trenga’s Order (Dkt. 258),

 Defendant’s answers regarding private dissemination were much different. In response to

 a question about whether the defendants provide even one private entity with such access,

 the FBI’s 30(b)(6) designee waved off the inquiry: “not that I’m aware of.” See Exhibit B, FBI

 Dep. at 114.

        The parties have engaged in robust discussions and correspondence regarding this

 dispute. While the dispute has not narrowed yet, Plaintiffs’ counsel anticipates that the

 parties will continue to confer in an effort to narrow this dispute until the day this matter is

 heard by the Court.

                                          OVERVIEW

        On January 4, 2019, Judge Trenga outlined the procedure for the parties’ resolution

 of any remaining discovery matters while they tee up Plaintiffs’ constitutional procedural

 due process claim for summary judgment. See Dkt. 258. In large part, Judge Trenga

 deferred the adjudication of the vast majority of discovery disputes, denying Plaintiffs’

 Motion to Compel “without prejudice” but directing Plaintiffs to motion again within the

 context of summary judgment briefing, where Judge Trenga can “better assess whether

 there are outstanding issues of material fact whose resolution justifies disclosure to the

 Plaintiffs.” See Dkt. 258.


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        Judge Trenga did, however, fully resolve the motion to compel with respect to one

 category of information: Defendants’ dissemination of TSDB data to private entities. Judge

 Trenga concluded that “Defendants should provide a further detailed, complete, and

 specific response to Plaintiffs’ Interrogatory 30 and related questions at TSC’s Rule 30

 (b)(6) deposition.” Id. at 2-3. In a footnote, Judge Trenga made clear that such response

 must also encompass any “indirect dissemination” of TSDB data to private entities. Id. at n.

 1. To emphasize the breadth and specificity that Judge Trenga expected Defendants to

 provide, the order established an expectation that the information would be “subject to the

 outstanding protective order and shall also be limited to “attorneys’ eyes only.” Id. at 2.

        On February 8, 2019, only Defendant TSC made an attempt to comply with Judge

 Trenga’s order, providing Plaintiffs with the agency’s supplemental response to

 Interrogatory 30. See Exhibit A (Court-Ordered Supplement). Instead of providing

 Plaintiffs with the “detailed, complete, and specific” information Judge Trenga ordered

 them to, the TSC’s supplemental response speaks in vagaries via legal-wordsmithing that

 hides much. Instead of providing privileged information subject to a protective order and

 information that is “attorneys’ eyes only,” Defendant TSC provided only a non-privileged,

 general overview for which Defendants have placed no limitation on how Plaintiffs handle

 the document or place it on the Court’s docket.

                                         ARGUMENT

        The defendants have not done what Judge Trenga told them to do. The response is

 not “detailed,” it is not “complete,” and it is not “specific.” It also includes no privileged

 information of any kind, despite the substance of Judge Trenga’s order making clear his




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 expectation that Plaintiffs’ counsel would get to view private entity dissemination

 information at a level of granularity that might trigger an appropriate assertion of a privilege.

    I.      TSC’s Supplemental Response is Not “Detailed”

         Defendant TSC’s supplemental response is not “detailed” in the way Judge Trenga

 ordered. It creates more questions than it answers. It provides broad industry categories of

 entities with access to the TSDB (through the FBI’s Known or Suspected Terrorist file as

 disseminated through the NCIC database), but is short on specifics. For example, the

 supplement indicates that private entities must obtain an “Originating Agency Identifier

 (ORI)” in order to access TSDB data. Exhibit B at 2. It also asserts that private entities submit

 applications to obtain such ORI’s.       Defendants, however, do not provide any other

 information about the application process, whether private entities of all kinds can apply or

 whether the federal government enlists private entities to obtain an ORI and thus expand

 the reach of its watchlisting system, whether defendants have ever revoked a private entity’s

 ORI, and perhaps most importantly, the federal government’s rationale in providing 1,441

 private entities access to TSDB data that Defendants claim that they handle with meticulous

 care.

         Defendants further do not provide information about how TSA or CBP is directly or

 indirectly providing watchlist information to private entities. A public GAO report as far back

 as 2007 recognized that “Within the private sector, some critical infrastructure components

 are presently using watch list records to screen current or prospective employees, but many

 components are not.” See, Terrorist Watch List Screening: Opportunities Exist to Enhance

 Management Oversight, Reduce Vulnerabilities in Agency Screening Processes, and Expand Use

 of the List, GOVERNMENT ACCOUNTABILITY OFFICE at 6, 11, 45 (October 2007), available


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 at https://www.gao.gov/products/GAO-08-110.            The report recommended further

 expansion of those private-sector partnerships. See id. Yet aside from discussing TSC’s

 knowledge that DHS “may share certain information with ‘for profit’ entities in certain

 limited circumstances,” related to airlines and airports, (Exhibit A at 4-5), Defendants do not

 address other forms of private-sector or event screening. Yet documents produced in this

 action recognized that “Pursuant to HSPD-6 and the TSC MOU, DHS is developing guidelines

 by which private sector entities that have substantial bearing on homeland security could

 submit voluntary requests for terrorist screening.” See TSCD0065, “An Updated Strategy for

 Comprehensive Terrorist- Related Screening Procedures”, Elhady_FBITSC-PRIV004477.

          Nor does Defendants’ supplemental response does not provide any details about how

 private entities utilize TSDB data or what they do when they encounter TSDB data. Are

 universities taking TSDB status into account in making admission or disciplinary decisions?

 Are Inova Alexandria Hospital’s building security personnel screening visitors against the

 TSDB and denying entry to listees? Is Motorola screening its software engineers who work

 on cellular infrastructure equipment against the TSDB and firing listees? Plaintiffs have no

 idea.

    II.      TSC’s Supplemental Response is Not “Complete”

          Defendant TSC’s supplemental response is not complete, because it only addresses

 the number of private entities the TSC knows have received TSDB dissemination through the

 FBI. But other issues are as central to Plaintiffs’ claims as the extent of the dissemination. A

 complete answer would establish in an admissible form the purpose of private sector

 dissemination, the rules and policies about private sector dissemination, the private sector’s




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 adherence to those rules and policies, and the outcomes of private sector dissemination.

 None of those matters are addressed in any manner.

    III.      TSC’s Supplemental Response is Not “Specific”

           Judge Trenga used the word “specific” for a particular purpose: to avoid the

 obfuscation that has dragged discovery in this case well past the year mark. In this situation,

 specificity should include the actual names of the 1,441 private sector entities who have

 access to TSDB data. The extent of the private sector dissemination can only truly be

 established if there is a sense of how large those 1,441 private entities are. It is possible that

 50 of the 1,441 entities include each state’s public university system, that another 100

 include the 100 largest public companies, and that private investigator firms with dubious

 reputations make up a part of this group as well. Without the names of the private entities—

 each “specific” name with access—Plaintiffs cannot assess the breadth of the dissemination.

    IV.       The Court’s Remedy Should Take Into Account Defendant FBI’s Outright
              Deception at the Agency’s Deposition and Order the FBI to Submit to Questioning
              Again.

           Plaintiffs request, at a minimum, that the Court compel a more fulsome supplemental

 response to Plaintiffs’ interrogatory regarding private dissemination. Plaintiffs further

 request the Court order a supplemental deposition of the FBI on this question. As the Court

 knows, Plaintiffs have long suspected that Defendants disseminate TSDB data to a wide

 range of private entities. But these suspicions were based on anecdotes; the federal

 government has never confirmed private sector dissemination of its TSDB data in any

 manner. That is why, via interrogatories and deposition questioning, Plaintiffs posed direct

 questions about such dissemination.




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        On April 9, 2018, the FBI was asked the following question: “Does any private entity

 have any type of access to NCIC.” Exhibit B – FBI Tr. at 14. The Deputy Assistant Director of

 the FBI’s Counterterrorism Division answered directly: “Not that I’m aware of.” Dep at 114.

 The FBI, through its high-ranking executive, flatly denied what Defendants now admit—

 private sector dissemination is a substantial aspect of the watchlisting system’s approach to

 dissemination.

        This is another incident of a Government agency deponent being less-than-

 forthcoming. In March 2018, the TSA testified: “No, we do not perform intelligence collection

 on passengers at the airport.” See 8/24/2018 Transcript on Plaintiff’s Motion to Compel re:

 Quiet Skies (citing TSA March 2018 Dep. at 184-185). Yet mere days before the March 2018

 deposition, the TSA had expanded its “Quiet Skies” program for the purpose of subjecting

 additional passengers to heightened terrorist scrutiny and collecting detailed information

 on them to provide to intelligence agencies. In reviewing the media coverage, the Court

 ordered the TSA to sit for an additional deposition, remarking “I’m concerned that this

 deposition that was taken on March 20 has information in it that really wasn’t

 accurate.” 8/24/2018 Transcript at 79. The Court added: “[T]he fact that the witness at that

 time would say that intelligence collection on passengers is not being performed at the

 airport when that program as described in Exhibit B had been put into place, that clearly

 does involve some type of intelligence collection on passengers that is then provided to the

 TSA, is troublesome.” 8/24/2018 8/24 Transcript at 79-80. In the follow-up deposition, the

 TSA admitted that the Federal Air Marshall Service does provide information to intelligence

 agencies, including the FBI and National Counterterrorism Center. MTC Exhibit 3,

 10/4/2018 TSA Depo Tr. at 14-16.


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        The repeated obfuscation of Defendants’ 30(b)(6) warrants an additional FBI

 deposition so that the issues can be explored in an adversarial setting that will allow

 Plaintiffs to pursue the line of questioning it tried to almost a year ago.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request the Court GRANT their

 Motion to Compel re: Private Dissemination.

                                               Respectfully submitted,

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 Dated: February 15, 2019




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                                CERTIFICATE OF SERVICE


        I hereby certify that on February 15, 2018, I electronically filed the foregoing by using

 the Court’s ECF system. I further certify that all participants in the case are registered ECF

 users and will be electronically served by the Court’s ECF notification system.

                                              COUNCIL ON AMERICAN-ISLAMIC
                                              RELATIONS

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